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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

Mark G. Johnson &                        Case No. 5:17-CV-10396-JCO-SDD
Paul H. Eichenberg,
           Plaintiffs,                   Hon. John Corbett O’Meara
     v.
                                         Magistrate Stephanie Dawkins Davis
Roberts & Freatman, PLC.
           Defendants

                          NOTICE OF DISMISSAL
PLEASE TAKE NOTICE that Plaintiffs Mark G. Johnson and Paul H. Eichenberg
pursuant to Fed. R. Civ. P. 41(a)(1)A)(I) hereby dismisses this matter with
prejudice.



Dated: October 30, 2017                  /s/ John Evanchek, Esq.
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